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                               UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                       RICHARD SHEPPARD ARNOLD UNITED STATES COURTHOUSE
                                      500 W. CAPITOL, ROOM 403
                                 LITTLE ROCK, ARKANSAS 72201-3325
                                            (501) 604-5140
                                        Facsimile (501) 604-5149


                                         August 31, 2011

Mr. John Bush
U.S. Attorney’s Office
Eastern District of Arkansas
Post Office Box 1229
Little Rock, AR 72203

Mr. Leslie Dokes
1020 Healy St.
No. Little Rock, AR 72117

       Re:     United States v. Dokes – 4:00CR00070-02-BRW

Gentlemen:

On July 25, 2011, the Government filed a Motion to Show Cause and Petition for Revocation on
Mr. Dokes.

It has now come to my attention that even though the Petition was filed on July 25, no warrant or
summons issued based on the allegations in the Petition. Mr. Dokes' Supervised Release expired
sometime between August 10 and August 15, 2011.

The Court's power in connection with delayed revocation is governed by 18 U.S.C. § 3583(I), which
reads:

       The power of the court to revoke a term of supervised release for violation of a
       condition of supervised release, and to order the defendant to serve a term of
       imprisonment and, subject to the limitations in subsection (h), a further term of
       supervised release, extends beyond the expiration of the term of supervised release
       for any period reasonably necessary for the adjudication of matters arising before its
       expiration if, before its expiration, a warrant or summons has been issued on the
       basis of an allegation of such a violation.

Do I still have jurisdiction over this case? Please advise by 10:00 a.m. on Thursday, September 1,
2011.

                                                             Cordially,

                                                             /s/Bill Wilson

cc: James McCormack, Clerk of Court
